Case 1: 04- -C\/- -01254- .]DT- STA Document 28 Filed 05/03/05 Page 1 of 2; Page|D 26

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EASTERN DIVISION #;§ trw 9 D/ 0
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RODNEY CLARK, ) /V L/ C §§ 0`}'
) /?i|
Plaintiff, )
)
v. ) CIVIL ACTION NO. 04-1254-1-
) An
TH:E PROCTER & GAMBLE )
MANUFACTURING ` )
COMPANY, a corporation, )
)
Defendant. )

ORDER GRANTiNG MOTION FOR EXTENSION OF TIME
Defendant Procter & Gamble’s motion for extension of time in which
to file its motion for Summary judgment is hereby GRANTED. Proeter &

Gamble shall file its motion for summary judgment within 30 days after

Plaintiff has concluded its 30@(6) deposition(s) of Defendant. M /M M/
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Uni States M&gi-sta=a-te Judge

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ESSEE

 

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Honorable J ames Todd
US DISTRICT COURT

